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                       IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION


 In re:                                        §                     Chapter 7
                                               §
 Q’Max America, Inc., et al.                   §            Case No. 20–60030-CML
                                               §
           Debtors.                            §                Jointly Administered


 Christopher R. Murray, Chapter 7              §
 Trustee,                                      §
                                               §
           Plaintiff                           §
                                               §            Adversary No. 22-06051
 v.                                            §
                                               §
 Eco-Shell, Inc.,                              §
                                               §
           Defendant.                          §



                         NOTICE OF HYBRID STATUS CONFERENCE


          PLEASE TAKE NOTICE that the Court will conduct a hybrid Status Conference in this

case on September 26, 2023, at 1:30 p.m. Central Time in the United States Bankruptcy

Court for the Southern District of Texas before the Honorable Christopher Lopez in

Courtroom 401, 515 Rusk, Houston, Texas 77002. To access the hearing, Dial 1-832-917-

1510 and use Conference Code 590153. Telephonic participants may connect online to view

the Courts broadcast onto the courtroom’s television monitors. To view online, you may

connect through the website located at the following website:

https://www.gotomeet.me/JudgeLopez.




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Dated: September 21, 2023            Respectfully submitted,

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                             CERTIFICATE OF SERVICE

         The undersigned certifies that on September 21, 2023, a true and correct copy of the
foregoing Notice was served electronically on all parties registered to receive electronic notice
of filings in this case via this Court’s ECF notification system.


                                              /s/ Nicholas R. Lawson
                                              Nicholas R. Lawson




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